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United States Bankruptcy Court
Middle District of Florida

In re Thomas Kevin Nicho|son Case No. 6:18-bk-03235

 

Debtor(s) Chapter 7

AMENDMENT COVER SHEET

Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith:
Summary of Assets, Schedu|e AIB Property, Schedule C, Schedu|e D, Schedu|e | and Schedu|e J

NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES

Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), l certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Date; June 29, 2018 ls/ Juan Car|os Montes de Oca

 

Juan Car|os Montes de Oca 56406

Attomey for Debtor(s)

Montes de Oca Law Group'

8 South Or|ando Avenue

Kissimmee, FL 34741

407-870-5678 Fax:407-870-2309
juancarlos@mdo|awgroup.com; diana@mdo|awgroup.com;
walesca@mdo|awgroup.com

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Thomas Kevin-Nicho|son
1210 Terralago Way
Kissimmee, F-L 34746

Juan Car|os |Vlontes de Oca
|\/|ontes de Oca LaW Group
8 South Or|ando Avenue
Kissimmee, FL 34741

A|phera Financia| Serv
Attn: Bankruptcy

Po Box 3608

Dublin, OH 43016

Ca|iber Home Loans
Attn'. Cash Operations
Po Box 24330
Ok|ahoma City, OK 73124

Capita| One

Attn: Bankruptcy

Po Box 30285

Sa|t Lake City, UT 84130

Carmax Auto Finance

Attn: Bankruptcy Department
Po Box 440609

Kennesaw, GA 30160

Chase |\/Iortgage

Attn: Case Research & Bankruptcy
Po Box 24696

Co|umbus, OH 43224

Credit Collection Services
Bankruptcy `

725 Canton Street
Norwood, l\/|A 02062

Fifth Third Bank

Attn: Bankruptch Department
1830 E Paris Ave Se

Grand Rapids, |\/l| 49546

Fifth Third Bank

Attn: Bankruptch Department
1830 E Paris Ave Se

Grand Rapids, Ml 49546

First Federa| Credit & Co||ections
24700 Chagrin B|vd

Suite 205

Cleveland, OH 44122

Syncb/syncb Regiona|s
Attn: Bankruptcy

Po Box 965060
Or|ando, FL 32896

Tansy|a Donora Keels
3409 l\/la||ord Pond
Saint C|oudl FL 34772

Tansy|a Donora Kee|s
3409 |V|al|ord Pond
Saint C|oud, FL 34772

Tansy|a Donora Keels
3409 |\/lallord Pond
Saint C|oud, FL 34772

Time |nvestment Comp
929 E North River
West Bend, Wl 53095

Whitney/hancockbk
101 N |\/|onroe St Ste 150
Ta||ahassee, FL 32301

Whitney/hancockbk
101 N Monroe St Ste 150
Ta||ahassee, FL 32301

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6129/18 11:48AM

Fill in this information to identify your case:

Debtor 1 Thomas Kevin Nicholson
Flrst Name Middle Name Last Name

Debtor 2
(Spouse if, flling) First Name Middle Name Last Name

 

United States Bankruptcy Court for lhe: M|DDLE DlSTRlCT OF FLOR|DA

 

Case number 6:18-bk-03235

(if known)

 

l Check if this is an
amended filing

 

 

Official Form 1068um

Summary of Your Assets and Liabi|ities and Certain Statistical information 12/15

Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

mmmarize Your Assets

Your assets
Va|ue of what you own

1. Schedu|e AlB: Property (Official Form 106A/B)

1a. Copy line 55, Tota| real estate, from Schedu|e A/B ................................................................................................ $ 525’000'00
1b. Copy line 62, Total personal properly, from Schedu|e A/B ..................................................................................... $ 17,010.60
1c. Copy line 63, Total of all property on Schedule A/B..._. ........................................................................................... $ 542,010.60

Summarize Your Liabi|ities

Your liabilities
Amount you owe

2. Schedu/e D: Creditors Who Have C/aims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedu/e D... $ 516’802'00

3. Schedule E/F.' Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedu/e E/F ................................. $ 0'00
. 3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedu/e E/F ............................ $ 101 ,381 _23

 

Your total liabilities $ 618,183.23

 

 

 

Summarize Your lncome and Expenses

4. Schedu/e /: Your/ncome (Official Form 106l) '
Copy your combined monthly income from line 12 of Schedu/e l ................................................................................ $ 3»883'00

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedule J .......................................................................... $ 2»719'59

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
ij No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

l Yes v
7. What kind of debt do you have?

- Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-Qg for statistical purposes 28 U,S.C. § 159_

[] Your debts are not primarily consumer debts. You have nothing to report on this part ofthe form. Check this box and submit this form to
the court with your other schedules. '

Official Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical lnformation page 1 of2

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6/29/18 11:48AM

 

 

 

 

 

 

 

 

Debtor 1 Thomas Kevin Nicho|son ease number (ifk”°W") 6:18'bk'03235
8. From thel Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form 6 725.59
122A-1 Llne 11; OR, Form 122B Llne 11; OR, Form 122C-1 Llne 14. ’
9. Copy the following special categories of claims from Part4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domeslic support obligations (Copy line Ga.) . $ 0.00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0.00
9c. C|aims for death or personal injury while you were intoxicatedl (Copy line 6c.) $ 0_00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.) 38’154'74
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
99. Tota|. Add lines 9a through 9f. _ $ 38,154.74
Ochia| Form 1068um Summary of Your Assets and Liabi|ities and Certain Statistical information page 2 of 2

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6/29/1811:48AM

Fill in this information to identify your case and this filing:

Deblor1 Thomas Kevin Nicho|son
First Name Middle Name Last Name

Debtor 2
(Spouse. if hiing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: M|DDLE D|STRlCT OF FLOR|DA

 

Case number 6:18-bk-03235 l Check if this is an

amended filing

 

 

Official Form 106A/B
Schedu|e A/B: Property 12/15

ln each category. separately list and describe items. List an asset only once. if an asset fits in more than one categoryl list the asset in the category where you
think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Bui|ding, Landl or Other Real Estate You Own or Have an interest in

1_ Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

[l No. Go to Part 2.

- Yes. Where is the property?

What is the property? Check all that apply
1210 Terralago Way

 

 

 

 

 

- Sing|€-famlly home Do not deduct secured claims or exemptions Put
Street address, ii available, or other description . - . - the amount of an secured claims on Schedule D.'
Du lex or muitl-unlt bulldin y
l:l p g Credirors Who Have C/aims Secured by Property,
|:| Condominium or cooperative
[:] Manutactured or mobile home
_ _ Current value of the Current value of the
KlSSlmmee FL 34746-0000 |:] Land entire property? portion you own?
City S!al€ Z|P COdB m investment property $525,000.00 $525,000.00
T' sha `
m ime re . Describe the nature of your ownership interest
m Othei` (such as fee simplel tenancy by the entireties, or
Who has an interest in the property? Check one a me estate)' if kn°Wn'
- Debtor 1 only
Osceola ij center 2 only
County
|:| Debtor1 and Debtor 2 only Check if this is community property
m At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here ........................................................................... => $525’000'00

Describe Your Ve_hicles

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. |f you lease a vehicle, also report it on Schedu/e G: Executory Contracts and Unexpired Leases.

 

 

 

Official Form 106A/B Scheduie A/B: Property
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page 1
Best Case Bankruptcy

Case 6:18-bl<-03235-KS.] Doc 15 Filed 06/29/18 Page 6 of 20

Debtor 1 Thomas Kevin Nicho|son

3. Cars, vans, trucks tractors, sport utility vehicles motorcycles

l:l No
l Yes

3.1 Make: Dodge
Mode|; Caravan
Year: 2005

Approximate mileage:
Other information:

250227

 

 

 

 

Who has an interest in the property? Check one

- Debtor1 only

El Debtor 2 only

m Deblor1 and Debtor 2 only

m At least one ofthe debtors and another

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Case number (ifknown) 6:18-bk-03235

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credilors Who Have Claims Secured by Property.

Current value of the
entire property?

Current value of the
portion you own?

 

 

1D4G P24R959B290008 _
m Check if this is community property $800'00 $800'00
(see instructions)
. Nissan . ~ ., Do not deduct secured claims or exemptions Put
3.2 Make. Who has an interest in the property. Check one the amount ofany secured claims on Schedu/e D:
l\/|odel: QUeSt - Deblor1 only Creditors Who Have Claims Secured by Property.
Year: 2012 l:l Deblor2 only

 

Approximate mileage:
Other intormation:

 

JN8AE2KPPC90446085

 

 

 

m Debtor 1 and Debtor 2 only
l:l At least one of the debtors and another

l:l Check if this is community property
(see instructions)

Current value of the
entire property?

Current value of the
portion you own?

$15,000.00 $15,000.00

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles other vehicles and accessories
Examples: Boats, trailers motors personal watercraft, fishing vessels snowmobi|es, motorcycle accessories

- No
[l Yes

5 Add the dollar value of the portion you own for all of
.pages you have attached for Part 2. Write that number here ............................................................................. =>

mcribe Your Personal and Household items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examp/es: Major appliances furniture, linens china, kitchenware

l:l No
l Yes. Describe .....

your entries from Part 2, including any entries for

$15,800.00

 

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

 

 

Dishwasher

Washer, Dryer, Laptop, Fridge , Chair, Bed, Stove, Microwave and

$500.00

 

 

 

7. Electronics

Examp/es: Televisions and radios; audio, video, stereo, and digital equipment; computers printers scanners; music coilections; electronic devices
including cell phones cameras media players games

- No
[:l Yes Describe .....

8. Collectibles of value

Examp/es: Antiques and tigurines; paintings prints or other artwork; books

other collections memorabi|ia, collectib|es

- No
[l Yes Describe .....

thcial Form 106A/B

Schedule A/B: Property

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pictures or other art objects; stamp, coin, or baseball card collections

page 2

Best Case Bankruptcy

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4 DeblOr 1 Thomas Kevin Nicho|son Case number (itknvwn) 6:18-bk-03235

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles pool tables golf clubs skis; canoes and kayaks; carpentry loois;
musical instruments »
l No

i:l Yes. Describe .....

10. Firearms
Examples: Pistois, rifles shotguns ammunition, and related equipment
- No

[l Yes Describe .....

11. C|othes

Examples: Everyday clothes furs leather coats designer wear, shoes accessories
[l No

- Yes. Describe .....

 

lPants, T-shirts _ | $50.00

 

12. Jewe|ry
Examples: Everyday jewelry, costume jewelry, engagement rings wedding rings heir|oom jewelry, watches gems goid, silver

- No
ij Yes Describe .....

13. Non-farm animals
Examples: Dogs, cats, birds horses

- No
l:l Yes. Describe .....
14. Any other personal and household items you did not already list, including any health aids you did not list
l No
[l ¥es. Give specific information .....

 

15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

 

for Part 3. Write that number here ...... $550'00
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the foilowing'? Current value of the

portion you own?
Do not deduct secured
claims or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
- No

[l Yes ................................................................................................................

17. Deposits of money

Examples: Checking, savings or other Hnanciai acoounts; certificates of deposit; shares in credit unions brokerage houses and other similar
institutions if you have multiple accounts with the same institution, list each.
L__l No

l Yes ........................ institution name:

17.1. Checking Chase Bank Account Number 7812 $660.60

 

 

18. Bonds, mutual funds or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage hrms, money market accounts

l No
[:i Yes __________________ institution or issuer name:
Official Form 106A/B Schedule A/B: Property -. - __ -- - -- page 3

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Debtom Thomas Kevin Nicholson Case number (ifknown) 6:18-bk-03235

19. Non-pubiiciy traded stock and interests in incorporated and unincorporated businesses including an interest in an LLC, partnership, and
joint venture

. No
l:l Yes. Give specific information about them ...................
Name of entity: .% of ownership:

20_ Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checisl cashiers' checks promissory notes and money orders
Non-negoiiab/e instruments are those you cannot transfer to someone by signing or delivering them.

- No
|:l Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in lRA,¢ERiSA, Keogh, 401(k), 403(b), thrift savings accounts or other pension or profit-sharing plans
l No
l:i Yes. Lisi each account separateiy.
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords prepaid rent, public utilities (eiectricl gas water), telecommunications companies or others
- No

|:] Yes_ _____________________ institution name or individual:

23.' Annuities (A contract for a periodic payment of money to you, eitherfor life or for a number of years)

- No
i:] Yes _____________ issuer name and description

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

- No
[:] Yes _____________ institution name and description Separateiy file the records ofany interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
- No

[l Yes. Give specific information about them...

26_ Patents, copyrights trademarks trade secrets and other intellectual property
Examples: internet domain names websites, proceeds from royalties and licensing agreements

-No

[l Yes Give specific information about them...

27. Licenses, franchises and other general intangibles
Examples: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

- No
l:l Yes. Give specific information about them...

Nioney or property owed to you'? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28. Tax refunds owed to you
- No
[l Yes Give specifc information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples: Past due or lump sum aiimony, spousal support, child support, maintenance, divorce settlement property settlement
- No

[l Yes Give specific intormation......

thciai Form 106A/B Schedule A/B: Property »~ ~ “ " ' ' page 4

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Debt0r1 Thomas Kevin Nicho|son Case number (”k"°""") 6:18'bk'03235

30. Other amounts someone owes you

Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers’ compensationl Social Security '
benefits unpaid loans you made to someone else ‘

- No
[l Yes. Give specific information..

31. interests in insurance policies _
Examples: Hea|th, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
- No
l:l Yes Name the insurance company of each policy and list its value.

Company name: Beneficiary: 7 - Surrender or refund
value:

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive property because
someone has died.

- No
l:l Yes Give specific information..

33. C|aims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims or rights to sue

- No
El ¥es. Describe each ciaim._. .......

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
- No

l:l Yes. Describe each claim .........

35. Any financial assets you did not already list
- No'

l:] ¥es. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

 

 

 

 

 

 

 

for Part 4. Write that number here ......................................................... $660~60
Describe Any Business-Reiated Property You Own or Have an interest ln. List any real estate in Part1.
37. Do you own or have any legal or equitable interest in any business-related property?
'- No. Go to Part 6.
ij Yes Go to line 38.
Describe Any Farm- and Commerciai Fishing-Related Property You Own or Have an interest |n.
if you own or have an interest in farmland, list it in Part1.
46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
l No. co to Pan 7.
l:l Yes. Go to line 47.
Describe Ali Property You Own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership
l No
[l Yes Give specific information .........
54. Add the dollar value of ali of your entries from Part 7. Write that number here .................................... $0_00
Official Form 106A/B Schedule Ale Property - - page 5

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Debtor 1 Thomas Kevin Nicho|son Case number (ifknown) 6:18-bk-03235

Part 8: List the Tota|s of Each Part of this Form

55. Part 1: Total real estate, line 2 ...............

 

........................ $525,000.00

 

 

 

 

56. Part 2: Total vehicles line 5 $15,800.00

57. Part 3: Total personal and household items, line 15 $550.00

58. Part 4: Total financial assets line 36 $660.60

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related propertyl line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00 '

62. Total personal property. Add lines 56 through 61... $17,010.60 Copy personal property total $17,010.60

63. Total of all property on Schedule AlB. Add line 55 + line 62 $542,010_60
Official Form 106A/B Schedule A/E_t: Property j _ _ __ 7 page 6

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6/29/18 11248AM

Fill in this information to identify your case:

Debtor 1 Thomas Kevin Nicho|son
First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: M|DDLE DiSTR|CT OF FLOR|DA

 

Case number 6:18-bk-03235

(if known)

 

- Check if this is an
amended filing

 

 

Official Form 1060
Schedule C: The Property You C|aim as Exempt ' 4/16

Be as complete and accurate as possible. if two married people are ming together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more space is
needed, fill out and attach to this page as many copies of Part 2: Additiona/ Page as necessary. On the top of any additional pages write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited

to the applicable statutory amount.
identify the Property You C|aim as Exempt
1. Which set of exemptions are you ciaiming? Check one only, even if your spouse is filing with you.
l You are claiming state and federal nonbankruptq/ exemptions 11 U.S.C. § 522(b)(3) .
l:l You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from ` Check only one box for each exemption
Schedule A/B
1210 Terralago Way Kissimmee, FL $5'25 000-00 - $31,180_00 Fia. Const. art. X, § 4(a)(1);
34746 Osceola County ’ Fia. Stat. Ann. §§ 222.01 &
Llne from Schedule A/B: 1.1 m 100% of fair market value, up to 222.02
any applicable statutory limit
2005 Dodge Caravan 250227 miles $800_00 - $800_00 Fia. Stat. Ann. § 222.25(1)
1D4GP24R959B290008
Llne from Schedule A/B: 3.1 m 100% of fair market value, up to
any applicable statutory limit
Washer, Dryer, Laptop, Fridge , $500_00 - $500_00 Fia. Const. art. X, § 4(a)(2)
Chair, Bed, Stove, Microwave and
Dishwasher m 100% of fair market value, up to
Llne from Schedule A/B: 6.1 any applicable statutory limit

 

Llne from Schedule A/B: 11.1

 

Pants, T-Shirts $50_00 - $50_00 Fia. Const. art. X, § 4(a)(2)

m 100% of fair market value, up to
any applicable statutory limit

 

 

 

Checking: Chase Bank Account $660_60 - $660_60 Fia. Stat. Ann. § 222.11(2)(0)
Number 7812 _ -
Llne from Schedule A/B: 17.1 [:| 100% of fair market value, up to
any applicable statutory limit
Official Form 106C Schedule C: The Property You Claim as Exempt _ page 1 of2

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Debt0r1 Thomas Kevin Nicho|son Case number (if known) 6:18-bk-03235

3. Are you claiming a homestead exemption of more than $160,375'?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

l No

l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
l:l No
l:l Yes

thcial Form 105C Schedule C: The Property You C|aim as Exempt

page 2 of 2
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Best Case Bankruptcy

Case 6:18-bi<-03235-KS.] Doc 15 Fiied 06/29/18 Page 13 of 20

Fill in this information to identify your case:

Debtor 1 Thomas Kevin Nicho|son

First Name Middle Name Last Name

Debtor 2

 

(Spouse if, Giing) First Name Middle Name Last Name

United States Bankruptcy Court for the: M|DDLE D|STRlCT OF FLOR|DA

 

Case number
(if known)

6:18-bk-03235

 

 

 

Official Form 106D

Schedule D: Creditors Who Have C|aims Secured by Property

6/29/18 1114 BAM

l Check if this is an
amended filing

12/15

Be as complete and accurate as possible. if two married people are filing togetherl both are equally responsible for supplying correct information. if more space
is needed, copy the Additiona| Page, fill it out, number the entries, and attach it to this fonn. On the top ofany additional pages write your name and case

number (if known).

1. Do any`creditors have claims secured by your property?

l___l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

- Yes Fill in ali of the information below.

m Ali Secured C|aims

 

Column C

 

 

 

 

 

 

 

 

 

 

 

A B
2. List all secured claims. lf a creditor has more than one secured claim. list the creditor separately CO/umn Column
for each ciaim. if more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Va|ue of collateral unsecured
much as possibie, list the claims in alphabetical order according to the creditors name. Do not deduct the that supports this portion
value of collateral claim if any
Caliber Home Loans Describe the property that secures the claim: $442,678.00 $525,000.00 $0.00
C'ed“°'”$ Name 1210 Terralago Way Kissimmeel FL
34746 Osceola County
Attn: Cash 0 erations
PO Box 24335) aApsp]c;f the date you file, the claim is: Check all that
Oklahoma City, OK 73124 ij Comingem
Number, street city, siate a zip code [l Unliquidated
' l:l Disputed
Who owes the debt? Check one. Nature of lien. Check all that app|y.
- Debtor1 only m An agreement you made (such as mortgage or secured
l:l Debtor 2 only ear loan)
m Debtor1 and Debtor 2 only m Statutory lien (such as tax lien. mechanic's lien)
l___l At least one of the debtors and another El Judgment lien from a lawsuit
l:l Check if this claim relates to a El Other (inc|uding a right to offset)
community debt
Opened
03/15 Last
Date debt was incurred Active 02/17 Last 4 digits of account number 0378
Carmax Auto Finance Describe the property that secures the claim: $22,982.00 $15,000.00 $7,982.00
C'edl‘°"$ Name 2012 Nissan Quest
Attn: Bankruptcy JN8AE2KPPC90446085
Department
fthdt f'|,th l": h
Po Box 440609 ;\psp[t;. e a e you ie e c aim is Check a||t at
Kennesaw, GA 30160 ij Comingem
Number. street ciiy, state s zip code [l unliquidated
l:l Disputed
Who owes the debt? Check one. Nature of lien. Check all that app|y.
- Debtor1 oniy m An agreement you made (such as mortgage or secured
l
[l Debtor 2 only ear Oan)
l:l Debtor1 and Debtor 2 only l:l Statutory lien (such as tax lienl mechanic's lien)
l:l At least-one of the debtors and another l:l Judgment lien from a lawsuit
l:l Check if this claim relates to a l:l Other (inc|uding a right to offsel)
community debt
Official Form 1060 Schedule D: Creditors Who Have C|aims Secured by Property page 1 of2

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Best Case Bankruptcy

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Debtor 1 Thomas Kevin Nicho|son Case number (ifknow) 6:18-bk-03235
First Name Middle Name Last Name
Opened
01/17 Last
Date debt was incurred ACflVe 04/18 Last 4 digits of account number 2088
whitney/hancocka Describe the property that secures the cia.~m= $51,142.00 $525,000.00 $0.00

 

Creditor's Name

1210 Terralago Way Kissimmee, FL
34746 Osceola County

 

 

 

d ' , ‘ ' :
101 N Monroe St Ste 150 As of the ate you file the claim is Check all that

appiy.
Tallahassee, FL 32301 [:] Comlngem

 

 

 

 

Number, street city, state a zip code l:l unliquidated
m Disputed
Who owes the debt? Check one. Nature of lien. Check all that app|y.
' Deblor1 only El An agreement you made (such as mortgage or secured
i
l:l Debtor 2 only ear oan) v
l:l Debtor1 and Debtor 2 only _ l:l Statutory lien (such as tax lien. mechanic's lien)
l:l At least one ofthe debtors and another l:l Judgment lien from a lawsuit
l:l Check if this claim relates to a l:l Other (inc|uding a right to offset)
community debt
Opened
03/15 Last
Date debt was incurred Active 02/17 Last 4 digits of account number 4507
Add the dollar value of your entries in Column A on this page. Write that number here: $516,802.00
lt this is the last page of your form, add the dollar value totals from all pages
Write that number here: $516'802'00

 

 

 

[mt others to Be Notified for a bent That You Aiready Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, ifa collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similariy, if you have more

than one creditor for any of the debts that you listed in Part1, list the additional creditors here. if you do not have additional persons to be notified for any
debts in Part1, do not fill out or submit this page. '

Ofnciai Form 106D Additiona| Page of Schedule D: Creditors Who Have C|aims Secured by Property page 2 of2

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6/29/_18 11:48AM _

Fill in this information to identi

Debtor 1 Thomas Kevin Nicho|son

Debtor 2
(Spouse, if tiling)

 

United States Bankruptcy Court for the: M|DDLE D|STRlCT OF FLOR|DA

Case number 6:18-bk-03235 Check if this is:

(lt known)

- An amended filing

[] A supplement showing postpetition chapter
13 income as of the following date:

 

 

OHIC|B| Form 106| m
Schedule l: Your lncome 12/15

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment

 

information Debtor 1 Debtor 2 or non-filing spouse
§rry§§hh§§§ "§‘r°e§?e‘h§"e°llrerr§°b’ Employment srstus* ' Emp'°yed ~ m Emp'°yed '
informerionpabout§dgnionai 51 NOt employed m N<>l employed

employers OCCUPainn Self Contrator

 

lnclude part-time, seasonal, or ' _ _
self-employed work. Emp'°yel' 5 name Trl GlObal Assist

Occupation may include student Employer'S address 25 Tremins Place NE, Suite '
or homemaker, if it applies. 3210

At|anta, GA 30305

How long employed there? 3 months
*See Attachment for Additional Employment information

m Give Details About Monthly lncome

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated.

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2- deductions). lf not paid monthly, calculate what the monthly wage would be. 2- $ 6»000'00 $ N/A
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ N/A
4. Calculate gross lncome. Add line 2 + line 3. 4. $ 6,000.00 $ N/A

 

 

 

 

 

Ot`ticial Form lO()l Schedule l: Your lncome - page l

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Debtor1 Thomas Kevin Nicho|son

10.

11.

12.

13.

O|`iiciul Form 1061

Copy line 4 here

5a.
5b.
5c.
5d.
5e.
5f.

59.
5h.

8a.

8b.
80.

8d.
Be.
Bf.

89.
Bh.

S pecify:

 

Case number (ifknown)

For Debtor 1

6/29/18 1114 BAM

6:18-bk-03235

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applies

 

 

 

 

4. $ 6,000.00 N/A
List all payroll deductions:
Tax, Medicare, and Social Security deductions Sa. $ ' 0.00 $ N/A
Mandatory contributions for retirement plans 5b. $ 0.00 $ NlA
Voluntary contributions for retirement plans 5e. $ 0.00 $ N/A t
Required repayments of retirement fund loans 5d. $ 0.00 $ N/A
insurance 5e. $ 0.00 $ N/A
Domestic support obligations 5f. $ 0.00 $ ~ NlA
Union dues _ 59. $ 0.00 $ N/A
Other deductions. Specify: 5h.+ $ 0.00 $ N/A
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h. 6. $ 0.00 $ N/A
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 6,000.00 $ N/A
List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses and the total
monthly net lncome. Sa. $ -2,117.00 $ N/A
interest and dividends 8b. $ 0.00 $ N/A
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement 8c. $ 0.00 $ N/A
Unemployment compensation 8d. $ 0.00 $ NlA
Social Security Be. $ 0.00 $ N/A
Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: ‘ 8f. $ 0.00 $ N/A
Pension or retirement income 89. $ 0.00 $ N/A
Other monthly lncome. Specify: 8h.+ $ 0.00 $ N/A
Add all other lncome. Add lines 83+8b+8<:+8d+8e+8f+8g+8h. 9. $ -2,117.00 $ N/A
Calculate monthiyincome. Add line 7 + line 9. 10. $ 3,883;00 + $ N/A = $ 3,883.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. ' ' '
State ali other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives '
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
' 11. +$ 0.00
Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly lncome.
Write that amount on the Summary of Schedu/es and Statistical Summary of Certain Liabilities and Related Data, if it $ 3 883 0 o
Combined

Do you expect an increase or decrease within the year after you file this form?

l
l:l

No.

monthly income

 

Yes. Expiain:

Schedule i: Your income

pa 2

UQ
!`v

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Debtor1 Thomas Kevin Nicho|son Case number (ifknown) 6;18-bk-03235

Official Form B 6|
Attachment for Additional Employment information

 

 

 

 

 

Debtor

Occupation Self Contrator
Name of Employer Boxes Etc
How long employed 10 years

 

Address of Employer 1125 Gi|ls Drive
' Orlando, FL 32824

 

 

 

Oiiicial Form 1061 Schedule i: Your income page 3

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6/29/1811148AM

Fill in this information to identify your case:

    

 

Debtor1 Thomas Kevin Nicho|son Check if ihiS lSZ
- An amended Hling
Debtor 2 [] A supplement showing postpetition chapter

 

(Spouse, if nling) - 13 expenses as of the following date:

United States Bankruptcy Court forthe: M|DDLE D|STRlCT OF FLOR|DA Mi\/| / DD / YYYY

Case number 6:18-bk-03235

(if known)

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
1. is this a joint case?

 

l No. Go to line 2.
i:l Yes. Does Debtor 2 live in a separate household?

L_.] No
ij Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [:] NO

 

 

 

 

 

 

DO not list Debior 1 and - Yes Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debior 2_ ` each dependent.... Debtor1 or Debtor 2 age ' live with you?
. _h\~-,;--»i--::z.-» ~i<-:~.' ~-=--'r‘~.‘ " .‘»-r -..'i iii -~e: ‘.i:»,.' »,~._~:=~"~1 i. - ___W d
Do not state the m NO
dependents names. Son . 2 l Yes
[] No
Son 08 - Yes
' l:] No
Son 10 l Yes
. l:l No
Daughter 11 l yes
ij No
Son 12 l Yes

 

3. Do your expenses include - NO
expenses of people other than m
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

lnclude expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your lncome
(ofriciai Form 1061.) _;pur expenses

r,-WM ..,,i .rs…_

      

q_,,?..._..-.`_.£_. .l .

   

4. The rental or home ownership expenses for your residence. include first mortgage 0
payments and any rentfor the ground or iot. 4- 5 0' 0

lf not included in line 4:

4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residencel such as home equity loans 5. $ 0.00

Official Form 106J ' Schedule J: Your Expenses 74 7 page 1

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Debtor1 Thomas Kevin Nicho|son case number (if known) 6;18.bk-03235

Official Form 106J ' Schedule J: Your Expenses page 2

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6/29/18 11:48AM

 

 

Debtor 1 Thomas Kevin Nicho|son Case number (ifknown) 6:18-bk-03235
6. Uti|ities:
6a Electricity, heat, natural gas 6a $ 500.00
6b. Water, sewer, garbage collection 6b. $ 0.00
6c. Teiephone, cell phone, |nternet, satellite, and cable services 60. $ 187.00
6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 800.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothingl laundryl and dry cleaning 9. $ 0.00
10. Personai care products and services 10. $ 0.00
11. Medicai and dental expenses 11. $ 0.00
*12. Trans ortation. include as, maintenance, bus or train fare.
Do notpinclude car paymegnts. ' 12- $ 400'00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 0.00
14. Charitable contributions and religious donations 14. $ 0.00

15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

 

 

 

 

 

 

 

 

 

 

15a. Life insurance 15a $ 0.00

15b. Heaith insurance 15b. $ 0,00

15c. Vehic|e insurance 15c. $ 107.00

15d. Other insurance. Specify: 15d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 0_00

17b. Car payments for Vehicle 2 17b. $ 0.00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of aiimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule l, Yourlncome (Official Form 106|). 18~ 3 725'59
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: ‘ 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.

20a. Mortgages on other property 20a. $ ' 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter's insurance 20c. $ 0.00

20d. l\/|aintenance, repair, and upkeep expenses 20d. $ 0.00 1

20e. Homeowner’s association or condominium dues 20e. $ 0.00
21. Other: Specify: ` 21. +$`_._0.00_
22. Calculate your monthly expenses

22a. Add lines4 through 21. $ 2,719.59

22b. Copy line 22 (monthiy expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses $ 2,719.59
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l. 23a. $ » 3,883.00

23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,719.59

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 239 $ 1’163'41

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For examplel do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
modification to the terms of your mortgage?

- No.

 

l:| ¥es. Explain here:

Official Form 106J Schedule J: Your Expenses page 3

